                      Case 1:23-mj-00212-GMH Document 1 Filed 08/18/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                    Nathan Earl Hughes
                                                                    )
                    DOB: XXXXXX                                     )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                              in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        .  86&   D  FLYLO GLVRUGHU
           86 &   D   (QWHULQJ DQG 5HPDLQLQJ LQ D 5HVWULFWHG %XLOGLQJ RU *URXQGV
           86&   D   'LVRUGHUO\ DQG 'LVUXSWLYH &RQGXFW LQ D 5HVWULFWHG %XLOGLQJ RU *URXQGV
           86&   H  (  ,PSHGLQJ 3DVVDJH 7KURXJK WKH &DSLWRO *URXQGV RU %XLOGLQJV




         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




                                                                                                Printed name and title
$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH
                                                                                              G. Michael Digitally signed
                                                                                                         by G. Michael
Date:             08/18/2023
                                                                                              Harvey     Harvey
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ '&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                                Printed name and title
